                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

PRIDE HOUSTON, INC.,                                   §
                                                       §
               Plaintiff,                              §
                                                       §
v.                                                     §      Civil Action No.
                                                       §
THE NEW FACES OF PRIDE                                 §
HOUSTON, INC.,                                         §
                                                       §
               Defendant.                              §


                                  Temporary Restraining Order



       After considering Plaintiff Pride Houston, Inc.’s (“Pride Houston”) Application

for Temporary Restraining Order, as well as the pleadings, the affidavits, and arguments of

counsel, if any, the Court finds there is evidence that harm is imminent to Plaintiff and if the Court

does not issue the temporary restraining order Plaintiff will be irreparably injured because

Defendant, The New Faces of Pride Houston, Inc. (“Enjoined Party”), is likely to damage, infringe,

improperly utilize, and cause irreparable injury to Plaintiff’s unique federally-registered

trademarks, brand, and trade name as further described in Plaintiff’s Original Complaint (the

“Trademarks”), the right to which is part of the subject matter of this litigation.

       An ex parte order, without notice to the Enjoined Party, is necessary because there was not

enough time to give notice to the Enjoined Party, hold a hearing, and issue a restraining order

before the irreparable injury, loss, or damage would occur, as there is evidence of a continuous

and ongoing marketing campaign using the Trademarks that has caused, and will continue to cause,

actual confusion in Plaintiff’s consumers between Plaintiff and Defendant, irreparably harm



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Plaintiff’s reputation and goodwill, and irreparably harm Plaintiff’s ability to obtain funding and

donations for its business operations. Specifically, the Enjoined Party has stated their intention to

continue its infringing use of the Trademarks, and absent this Order, there is nothing to prevent

the Enjoined Party from doing so upon notice of a hearing.

       The Court further finds that there is a likelihood of success on the merits by Plaintiff, that

irreparable harm will occur should this Order not be granted, and that the public interest and

balance of harms support issuance of this Order. It is therefore,

       ORDERED that the Enjoined Party, and their parent companies, subsidiary companies,

officers, agents, servants, warehousemen, employees, successors, and assigns, and attorneys, and

all parties acting in concert therewith, who receive constructive notice of this Order are hereby

RESTRAINED AND ENJOINED from:

        i. Marketing or promoting any events, or accepting participant registrations for any

           events, that improperly publishes, displays, or in any way uses Plaintiff’s Trademarks

           in the event name, social media tags, or other marketing, information, and/or other

           materials;

       ii. Marketing, advertising, fundraising, or soliciting donations, supports, and vendors in

           relation to Defendant’s infringing “The New Faces of Pride Houston” business;

      iii. Advertising Defendant’s infringing “The New Faces of Pride Houston” business,

           soliciting any more of Plaintiff’s supporters’ donations in relation to Defendant’s

           infringing use of same or Defendant’s competing social events;

      iv. Claiming to be the “Official Houston Pride” organization in any capacity; and/or

       v. Using any phrase, tradename, trademark, service mark, or business, corporate, or

           domain name that is confusingly similar to Plaintiff’s Trademarks, including, but not



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           limited to, Pride Houston, Houston Pride Festival, Houston Pride Parage, Houston

           LBGT Pride Celebration, and Pride Houston Celebration; and

      vi. Operating or otherwise using any social media account, page, or domain with a name

           or title that is confusingly similarly to Plaintiff’s Trademarks, including but not limited

           to Pride Houston, Houston Pride Festival, Houston Pride Parage, Houston LBGT Pride

           Celebration, and Pride Houston Celebration and any variations or similar spellings or

           appearances of same, wherein confusingly similar phrases, words, tradenames,

           trademarks, service marks, or domain names, including any variation or similar spelling

           or appearance of same, whether alone or in combination with other words, numbers,

           colors, logos, or designs that are confusingly similar to the Trademarks, and whether

           in lower or upper case or stylized format, without the express written consent of Pride

           Houston.

       ORDERED that the Enjoined Party shall appear before this Court, at Room _____ of the

U.S. District Court for the Southern District of Texas, Houston Division, located at 515 Rusk

Street, Houston, Harris County, Texas on the ______ day of _________________, 2023, at

______________ __.M., and then and there show cause, if any there be, why a temporary

injunction should not be issued as requested by Plaintiff.

       The Clerk of the Court is hereby directed to issue a show cause notice to the Enjoined Party

to appear at the temporary injunction hearing.

       The Clerk of the above-entitled Court shall forthwith, on the filing by Plaintiff of the bond

of $____________________, and on approving the same according to the law, issue a temporary

restraining order in conformity with the law and the terms of this Order.

       This Order shall expire in its entirety on the ______ day of ___________________, 2023.



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SIGNED the ____ day of _____________________, 2023, at _______ __.M.



                                              ___________________________________
                                              U.S. DISTRICT JUDGE



Approved as to Form and Entry Requested by:


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